Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20     Page 1 of 33 PageID #: 1

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                                            5:20cv5194
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 2 of 33 PageID #: 2
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 3 of 33 PageID #: 3
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 4 of 33 PageID #: 4
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 5 of 33 PageID #: 5
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 6 of 33 PageID #: 6
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 7 of 33 PageID #: 7
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 8 of 33 PageID #: 8
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 9 of 33 PageID #: 9
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 10 of 33 PageID #: 10
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 11 of 33 PageID #: 11
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 12 of 33 PageID #: 12
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 13 of 33 PageID #: 13
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 14 of 33 PageID #: 14
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 15 of 33 PageID #: 15
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 16 of 33 PageID #: 16
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 17 of 33 PageID #: 17
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 18 of 33 PageID #: 18
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 19 of 33 PageID #: 19
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 20 of 33 PageID #: 20
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 21 of 33 PageID #: 21
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 22 of 33 PageID #: 22
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 23 of 33 PageID #: 23
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 24 of 33 PageID #: 24
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 25 of 33 PageID #: 25
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 26 of 33 PageID #: 26
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 27 of 33 PageID #: 27
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 28 of 33 PageID #: 28
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 29 of 33 PageID #: 29
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 30 of 33 PageID #: 30
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 31 of 33 PageID #: 31
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 32 of 33 PageID #: 32
Case 5:20-cv-05194-PKH   Document 1   Filed 11/12/20   Page 33 of 33 PageID #: 33
